Case 3:20-cr-00249-RS Document 675-16 Filed 06/06/25 Pagelof1

Message

From: kar }

Sent: 8/24/2018 4:25:55 PM

To: ‘AML Adin’
Subject: RE: 1CO Documents

Attachments: INVOICED 2-1 2-9 .xlsx; INVOICED 2-1 2-14 .xlsx; INVOICES KR_3.2.xlsx; KR_INVpdfsTest_Feb1.pdf;
KR_INVpdfsTest_Feb10-Feb15.pdf; PDFCOPIES 1-25wkEND_KR1.pdf; OINVOICES KR_F14.xlsx; 2nd INVOICES PDFs
rec'd 1-24-18.pdf; 3rd additional samople INVOICES PDFs_ADDITION.pdf; AML_FEB_ALL_FINAL_V2 rec'd 3-6-18.xIsx;
Copy of INVOICES CREDIT_KR_J8-J17.xisx; Invoice INV-4781.pdf; INVOICED 1-8 _1-17_.xlsx; INVOICED _1-18__1-
25_.xlsx; INVOICED_1-26__1-31_.xisx

Hi Bernadette,
Attached are the Excel sheets & PDFs used when Dylan was working with me. Let me know if you need
anything else.

KARL Ruzicka, CPA

From: AML Adim
Sent: August 22, 2018 10:45 AM
To: Karl R; Marcus Andrade
Subject: ICO Documents

Hello Karl,

I wanted to reach out to about some documents needed for the ICO audit.

From my understanding you have all the documentas from a previous employee Dylan Pugliese during the ICO:
with the invoices, verifying and crediting of accounts.

Can you please send me that information, so that I can get it to Raul.
Here is a link to a Google Drive you can upload the documents to:

Let me know if you have any questions regarding this.

Thank you,
Bernadette Tran
AML BitCoin Team

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